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                           IN THE UNITED STATESDISTRICT COURT                                JA8 27 2217
                          FOR TH E W ESTERN DISTRICT O F VIRGINIA                        auuA .           ,L
                                     R O AN O K E D IW SIO N                            BY;

    ABDUL-HAM ZA W ALIM UHAM M AD, )                      CASE NO.7:14CV00529
                                   )
             Plaintiff,            )
    v.                             )                      M EM ORANDUM OPINION
                                   )                      (AdoptingReportandRecommendation)
                                   )
    RANDALL CHARI,ESM ATHENA,      )
    ET AL.,                        )                      By:GlenE.Conrad
                                   )                      ChiefUnited StatesDistrictJudge
             Defendantts).         )
           Thisprisonercivilrightsaction under42 U.S.C.j1983 wasreferred to United States
    M agistrateJudgeJoelC.Hoppeunder28 U.S.C.j636(b)(1)on two issues. JudgeHoppehas
    now issued one reportand recommendation (ECF No.208) finding thatthe defendants are
    entitled to summaryjudgmenton Claim 1 (çsRepol't1') and a second report(ECF No.207)
    fndingthatspoliation ofevidencerelated to Claiin 5 occun'ed and recom mending an appropriate

    sanction attrial(Gûlkeport11''). Thedefendantshave filed no objections. Thepro K plaintiff,
    Abdul-HnmzaW aliMlzhammad,hasfiled objectionsto Report1(ECF Nos.209 and 212)and
    RePort11(ECF No.210).1 Hehasalsofiled motionsseekingjudgmentin hisfavoron Claim 5
    and seekingtopursueanindependentspoliation claim (ECF No.210and213).Afterconducting                        .
    a X novo review ofthe reports,Muhammad's objectionsthereto and his othermotions,and
    pertinentportions ofthe record in accordance with j636(b)(1),the courtwillovem zle the
    objections,adoptthereports,and denyM tlhammad'spendingmotions.
           Themagistratejudge'sreportunderj636(b)(1)(B)makesonlyarecommendationtothis
    court. M athewsv.W eber,423 U.S.261,270-71 (1976). Fed.R.Civ.P.72. The courtis

           1 AlthoughMtlhammad doesnottitlethissubmission asanobjectiontothemagistratejudge'sreporton
    spoliation,thecourtconstruesitassuch;in essence,M uhammadcontendsthatheisentitled toaharshersanction for
    spoliationthanthesanctionsrecom m endedinthereport.
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charged with malcing a X novo determination of any portions of the magistrate judge's
recommendationtowhichaspecificobjection ismade.28U.S.C.j636(b)(1)(C).
                           Report1:Summ ary Judgm enton Claim 1

       Mtlhammad is an inmate atRed Onion State Prison (CGRed Onion''). Muhammad's
complaint,asnmended (ECF Nos.1and 13),alleged in Claim 1thatDefendantsDay,Kegley,
and M athena violated hisprocedtzraldue process rightsrelated to an InstitutionalClassifk ation

Authority(GûICA'')hearing on M ay 21,2014. Previously,thecourtdenied dismissalofthispart
ofClaim 1,butgranted thedefendantsa second opportunity to seek summaryjudgment. (See
ECFNo.168-69.)
       ReportI recomm ends ûnding thatthe defendants'classification decisions on M ay 21,

2014,and dtlring a subsequentappeal,did notdepriveM uhamm ad ofa protected liberty interest

without due process. Once an inmate is classified to Level S (long-term, administrative
segregation),toobtain areduction inthatclassification tmdertheprison'svoluntary,segregation
reduction step-down program ,he mustm eetcertain requirem énts,including completion ofthe

Challenge Sedes workbooks. M uhnm mad completed this series and was briefly reclassified to

Level 6,the first step in transitioning from segregated cov nem ent to a general population

setting. In Jtme 2013,M uhnmm ad inctm '
                                       ed severaldisciplinary chargesand wasreclassifed to

LevelS. By M ay 2014,charge-freeforeightm onths,M uhnmm ad dem anded reduction to Level

6 again. The ICA determ ination wasto deny this reduction,based on M uhnm mad'sfailtlre to

redo the Challenge Series afterhisreclassification to LevelS. M tlhnm m ad claim ed thatthe step-

down policy did notrequire a second com pletion ofthe Challence Series and that his failure to

meetthisrequirementofthevoluntary step-down policy could notbea valid reason to refuse the

reduction from LevelS.
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        ThepartiesagreethattheVirginiaDepartmentofCorrections(ûGVDOC'')policyrequiring
lCA review ofinmates'segregation stattzsevery ninety dayscreatesapotentialliberty interestin

avoiding transferto,orretention in,LevelS and its Ctmore adverse conditionsofconfinement.''

(Report 1, at 6) (quoting W ilkinson v.Austin, 545 U.S.209, 221 (2005:. The report
recom mends findings of fact and conclusions of 1aw that M tlham mad did not have a

constitutionally protected liberty interestin being released to the generalpopulation because he

did notshow thatthe conditions he experienced in LevelS presented atypicaland significant                      .




hardship compared to the expected conditions ofhis prison sentence.2 See Sandin v.Conner,

515 U.S.472,483-84 (1995). In the altemative,the reportalso finds thatthe procedural
protectionsM uhnmm ad received metconstitutionalrequirem ents.

        ln hisobjections,M uhammadlargely reiteratesargttmentshehaspreviously raised. The
courthasreviewed,7..
                   qnovo,theargumentsand therecord,and findsno factualorlegalbasis
here forrejecting oramending the fndings and conclusions ofthe report.3 A ccordingly, the
courtwillovem zletheobjections,adoptReport1,andgrantthedefendants'sllmmaryjudgment
motion asto Claim 1.




        2 Thereportalso notesthatthesefindingsand conclusionsare consistentwithrecentdecisionsbytheHon.
JamesP.Jones,UnitedStatesDistrictJudgeinthisdistrict.(Report1,at8-9)(citing,e.g.,Depaolav.VirciniaDeo't
ofCorr.,No.7:14CV00692,2016W L5415903(W .D.Va.Sept.28,2016)).
        3Inhisobjectionbriet MuhammadallegesforthetirsttimethathesuffersRatypicalhardship''inLevelS
because he cannotparticipate in p oup religious services,in violation ofhisrightto free exercise ofhisreligious
beliefs.M uhammad hasnotmovedto amend hisproceduraldueprocessclaim with theseunsworn allegations,and
thecourtGndsnojustificationforsuchanamendmentatthislatestageofthelitigation.Moreover,Muhammadfails
to show thatthe inability to practice group worship while in LevelS is any differentthan restrictions on group
worship that apply during a generalpopulation inmate's temporary assignm entto segregated confmement for
administrativereasons. Thus,he failsto show any ground here on which to fmd thatLevelS conditionsmeetthe
 atypicalhardship standard underSandin soasto giveriseto aconstitutionally protected liberty interest. 515 U.S.at
483-84.
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                                ReportII:Spoliation ofClaim 5Video

           ln Claim 5,M tlhamm ad alleged thaton January 5,2013,DefendantsC.Bishop and J.W .

    Coyle failed to intervene when Inm ate D errick Bratcher physically attacked him after they had

    been released forrecreation. M uhamm ad claim ed thatBishop attempted to intervene,butCoyle

    grabbed Bishop by the m istand told him to letthe beating continue. Bishop has denied any

    interference from Coyle. He hascontended thatBratcherand M uhnmm ad were sghting and that

    the oftk ers,according to their training,waited to intervene untiladditionalofficers anived to

    help. Based on the m atedal disputes between these accounts, the court denied summ ary

    judgment.
           M tlhammad initially claimed that three oftkials (M coueen, Hall, and M athena)
    intentionally destroyed surveillance cnmera footage ofthe January 2013 incidentto hinder llis

    litigation efforts. H e soughtto recover m onetary dam ages from these individuals and to im pose

    spoliation-based sanctionson the Claim 5 defendants. The courtreferred these spoliation issues

    to JudgeHoppe,whoordered briefing f'
                                       rom thepartiesand conducted an evidentiary hearing.

           Report11reflectsthe following factualfindings related to spoliation. Asa resultofthe

    altercation with Bratcher,offcialscharged and convicted M uhnm mad on an institutionalcharge

    ofsghting. As early as January and February 2013,M uhamm ad asked officialsto review and

    preserve surveillance cam era footage ofthe altercation with Bratcher. During hisappealofthe

    fighting charge,the warden's designee reviewed such footage,but found itinconclusive asto

    M tlhnm m ad's actions and denied the appeal. It is tm disputed that after the grievance appeal,

    uùderaroutine practice to record overpastfootage aboutevery ninety daysregardlessofinm ate

    requests for preservation,the January 5,2013,footage was recorded over and lost. At the




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evidentiaryhearing inthiscase,Muhnmmadrequestedthatthecourtinstnzctthejury attrialthat
itcould inferthatthecontentsofthem issingvideo were adversetotheClaim 5 defendants.

       The reportconcludes from the evidence thatthe missing video footage was relevantto

M uhamm ad's Claim 5,and thatoffkials negligently breached a duty to preserve it. Thereport

further concludes,however,that M uhammad has no separate cause of action under federalor

state1aw formonetarydamagesagainstM coueen,M athena,andHallrelatedto spoliationofthe
footage. The reportalso findsthatalthough the defendantsto Claim 5 (Bishop and Coyle)
personally com mitted no m iscônduct related to the failure to retain the desired footage,

im putation tothese defendantsofotherofficials'negligentspoliation isnecessary to avoid unfair

prejudicetoM uhammad.
       UnderRule 37(e)(2) ofthe FederalRules of CivilProcedure,the courtmay impose
certain types of sanctions çûonly upon finding that the party acted with the intent to deprive

another party of the inform ation's use in the litigation .. ..'' These special sanctions for

intentional spoliation include imposition of SGga presumptionj that the lost information was
unfavorable''to the defendants,ordismissalordefaultjudgment. Ld.us On the contrary,ûGupon
findingprejudiceto anotherparty f'
                                 rom guùintentional)lossofthe information,(thecoul'q may
ordermeaslzresnogreaterthannecessarytocuretheprejudice.''Rule37(e)(1).
       ThereportnotesthatMuhammad hasnotbeen irreparablyprejudiced by thelossofthe
video footage. Evidence in therecord indicatesthatthefootagedid notincludeaudio and creates

tm certainty that the footage even show ed the defendants' conduct during M uham m ad's

altercatiop with Bratcher. Although thefootage m ore likely showed M uhnmm ad'sown conduct

to som e extent,he can presenttestim ony,including his own,on this issue withoutthe footage.




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Ultim ately,the reportrecomm endsthat,as appropriately m easured sanctions for the negligent

spoliation ofthe footage,

       the Courtshould forbid the Defendants from putting on evidence relating to the
       fact of Muhammad's disciplinmy charges and conviction (to the extent such
       evidence would otherwise be admissible)orto the actualcontentsofthe video
       itself,includingthe m itten decision rejecting M uhammad'sdisciplinary appeal.
       In addition,the Courtshould instructthejury thata recording ofthe January 5
       altercation was made, M uhnmm ad requested that it be preserved,but it was
       subsequently lostthrough no faultofM uhammad's,and the jurors should not
       assume that the lack of corroborating objective evidence tmdermines
       M tlham mad'sversion ofeventssurrounding theEght.

(Report19.)
       Thedefendantsdonotobjecttotheseproposed sanctions. Muhammadalsohasmadeno
particularized objection to the correcmess of the factualfindings and legalconclusions,as
reflected in the report. G1(l)n the absence ofa timely Gled objection,a disttictcourtneed not
conducta denovo review,butinstead mustonly satisfy itselfthatthere isno clear en'or on the

face of the record in order to accept the recomm endation.'' Dinm ond v. Colonial Life &

AccidentIns.Co.,416F.3d 310,315(4th Cir.2005)(internalquotationmarksomittedl.Basedon
those fndings and conclusions,and fnding no clearerror,the courtwilladoptthese portionsof

the report.

       As stated,the courtconstrues M uhamm ad's separate m otion regarding spoliation as an

objection tothereporq seekingaharsherspoliation sanction,based on newly raised allegations
aboutJohn W alrath,formerassistantwarden atRed Orlion. (ECF No.213.) Tlzissubmission,
titled SGm otion for reconsideration to reinstate'' a separate spoliation claim , states that the

spoliation was intentional. According to M uhnmm ad's tmsworn m otion,after W alrath became

warden atRiverNorth CorrectionalCenter (çlRiverNorth''),he was allegedly tenninated for
ordering destruction of video footage related to a use of force against an inm ate. M uhnm m ad


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asserts thatthistsevidence''warrantsimposition ofa harsher spoliation sanction than thereport

recom mends. However,M uhnmm ad offers no other, admissible evidence in support of his

conclusoryassertion thatthespoliation atRedOnionwasintentional.M oreover,thecotut in#..
                                                                                      q
novo review of the report and the record, does not fsnd any factual or legal basis for this

contention. Accordingly,thecourtwillovem zleM uhammad'sobjection,adoptthereport,and
im posethe recom m ended spoliation sanctions atthe trialon Claim 5.

       M uhamm ad also seeks to pursue a separate claim for damages against M athena,

M coueen,and W alrath,based on the allegation thatthese defendants intentionally destroyed
video footage atRed Onion in 2013. The reportfndsno legalbasis underfederalor state 1aw

for a separate spoliation claim against officials who failed to preserve evidence. See,e.g.,

Silvestriv.Gen.M otorsCop .,271F.3d 583,590 (4th Cir.2001)(CG(W )hi1ethe spoliation of
evidence m ay give rise to courtimposed sanctions ...the actsofspoliation do notthemselves

giverisein civilcasesto substantive claimsordefenses.'');Bassv.E.I.DupontdeNemottrs&
Co.,28 F.App'x 201,206 (4th Cir.2002) (tGvirginia does not recognize a tortbased on
spoliation ofevidence.'')(citation omitted). Accordingly,the courtmustdeny Muhammad's
motion(ECF No.213)asfutile.
       Finally,M uhnmmad hasmoved forjudgmentasamatteroflaw on Claim 5 (ECF No.
210).Becausematerialfacmaldisputesremainatissuefortrialonthisclaim,however,thecourt
mustdeny thism otion.                                                                           '
                                                             .




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                                      C onclusion

      For the stated reasons, the court will overrule M uhammad's objections, adopt the
magistratejudge'sreports,grantsummaryjudgmentforthe defendantson Claim 1,and atthe
trial of Claim 5,will impose the recom m ended sanctions for spoliation of evidence. An

appropriate orderwillissuetlzisday.

      ENTER:This /1 dayofJanuary, 2017.

                                                                  #
                                               Chief   ited StatesDistrictJudge




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